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                                                                     JET/REP: MayU.S.
                                                                                  2019DISTRICT COURT
                                                                                GJ#44N.D. OF ALABAMA
              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                     NORTHEASTERN DIVISION

UNITED STATES OF AMERICA             )
                                     )
      v.                             )
                                     )             UNDER SEAL
DANIEL SEBASTIAN STEELE,             )
Also known as “Danny Gordon Fansler” )

                                 INDICTMENT

COUNT ONE: [26 U.S.C. § 5861(d)]

      The Grand Jury charges:

      That on or about the 22nd day of March, 2019, in DeKalb County, within the

Northern District of Alabama, the defendant,

                       DANIEL SEBASTIAN STEELE,
                   Also known as “Danny Gordon Fansler”,

knowingly received and possessed firearms, as that term is defined in Title

26, United States Code, Section 5845, more specifically described as a Rock River,

Model LAR-15 5.56 caliber machine gun and a Colt, Model Browning .50 caliber

machine gun, neither of which were registered to him in the National Firearms

Registration and Transfer Record, in violation of Title 26, United States Code,

Section 5861(d).




COUNT TWO: [18 U.S.C. § 922(o)]
                                         1
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      The Grand Jury charges:

      That on or about the 22nd day of March, 2019, in DeKalb County, within the

Northern District of Alabama, the defendant,

                        DANIEL SEBASTIAN STEELE,
                    Also known as “Danny Gordon Fansler”,

did knowingly transfer and possess a machine gun, that being, a Rock River, model

LAR-15 5.56 caliber machine gun and a Colt, model Browning .50 caliber machine

gun, in violation of Title 18, United States Code, Section 922(o).

A TRUE BILL


/s/ Electronic Signature
FOREPERSON OF THE GRAND JURY
                                               JAY E. TOWN
                                               United States Attorney


                                               /s/ Electronic Signature
                                               RUSSELL E. PENFIELD
                                               Assistant United States Attorney




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